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      Mongol Nation

 9
10                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
11
12
                                                 )   Case No.: CR 13 00106 DOC
13
      United States of America                   )
14          Plaintiff,                           )
15
                                                 )   DEFENDANT’S MOTION FOR A
      vs.                                        )   JUDGMENT OF ACQUITTAL IN
16                                               )   THE GUILT PHASE
17                                               )
      Mongol Nation, an unincorporated           )
18    association,                               )
19         Defendant.                            )   Judge: Honorable David O. Carter
                                                 )   Courtroom: 9D
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 1
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32                             Defendant’s Motion for a Judgment of Acquittal
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 1
      I.    INTRODUCTION

 2          At the onset it is important to note the actual status of this case; the government
 3
      brought the instant action in 2013. Although the government clouded the record with a
 4
 5    wealth of irrelevant evidence, it only proceeded to the jury with eight alleged racketeering
 6
      (predicate) acts. Of those eight acts, six dealt with either murder or attempted murder. Of
 7
 8
      those six acts, the jury acquitted on three and were deadlocked 10-2 in favor of acquittal

 9    on a fourth. The jury convicted on the two drug transactions. We believe this motion will
10
      establish that under the law and facts of this case, even the few racketeering acts found
11
12    proven and the conspiracy claim will not survive the strict legal scrutiny that must be
13
      applied.
14
15
            It is also important to remember that the totality of confiscated drugs put into

16    evidence during the course of this case (including their evidentiary packaging and labels)
17
      can be placed into a standard grocery bag and still leave enough room for a gallon of milk,
18
19    a loaf of bread, and a dozen eggs.
20
            This entire case and the investigation which preceded it was spearhead by the
21
22
      Bureau of Alcohol, Tobacco, and Firearms (the “ATF”). This is the same organization that

23    brought the American citizens operation Fast and Furious and the “Stash House” cases –
24
      written about in the case of U.S. v. Roberts, a copy of which is supplied herewith as
25
26    Exhibit A. United States v. Roberts, et al., CR 13-00751-R-1 (2014). Two of the
27
      undercover agents that testified in this case (Jay Dobyns and John “Hollywood” Carr)
28
29    were involved in those now infamous aforementioned investigations. Former special agent
30
31                                                      1
32                                Defendant’s Motion for a Judgment of Acquittal
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 1
      Dobyns himself successfully sued the ATF – calling it a Corrupt Government Agency.

 2    This case is just the most recent intersection of the “Deep State” meeting Main Street.
 3
            Back on October 9, 2008, the government brought an indictment against 79
 4
 5    individual persons alleged to be members of the Mongol Nation Motorcycle Club alleging
 6
      violations, among other charges, of 18 U.S.C. §§ 1962(c) and (d), and seeking the
 7
 8
      forfeiture of several trademarks registered by Mongols MC. See United States v. Cavazos,

 9    et al., CR 08-1201-ODW.
10
            Shortly thereafter on October 21, 2008, the United States Attorney’s Office of the
11
12    Central District of California issued a press release in which then United States Attorney
13
      Thomas P. O’Brien boasted: “in addition to pursuing the criminal charges set forth in the
14
15
      [CR 08-1201] indictment, for the first time ever, we are seeking to forfeit the intellectual

16    property of a gang.” See ATF Undercover Investigation Leads to Federal Racketeering
17
      Indictment and Arrest of 61 Members of So. Cal.-Based Mongols Outlaw Motorcycle
18
19    Gang, The United States Attorney’s Office Central District of California, Release No. 08-
20
      142, October 21, 2008 (emphasis added). Mr. O’Brien continued: “The indictment alleges
21
22
      that this trademark is subject to forfeiture. We have filed papers seeking a court order that

23    will prevent gang members from using or displaying the name ‘Mongols.’ If the court
24
      grants our request for this order, then if any law enforcement officer sees a Mongol
25
26    wearing his patch, he will be authorized to stop that gang member and literally take the
27
      jacket right off his back.” See Id. (emphasis added).
28
29
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31                                                       2
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
            All of the 79 individual defendants charged in Cavazos, except for an individual

 2    who died in custody and another deemed incompetent, entered into a plea agreement with
 3
      the government, and nearly all of those individuals pled guilty to 18 U.S.C. § 1962(d)
 4
 5    (RICO Conspiracy). Additionally, these individuals have all already as part of their plea
 6
      deals agreed to forfeit their right to display the Marks sought for forfeiture in this current
 7
 8
      proceeding.

 9          The government brought on February 13, 2013 an indictment in which the
10
      government gave notice that it will once again attempt the exact same forfeiture of the
11
12    exact same Mongols MC collective membership marks. The only difference between
13
      Cavazos and the instant case is that in this case the government names the entity Mongol
14
15
      Nation, an unincorporated association, as the sole defendant.

16          Focusing specifically on the guilt phase of the trial at hand, this Court can and
17
      should enter a judgment of acquittal because the government has fallen woefully short of
18
19    adequately proving the requisite elements of a RICO claim. Specifically, the government
20
      has failed to establish distinctness between the RICO “enterprise” and the RICO “person”
21
22
      as required by law to reach a conviction under the statute. For this reason alone, a

23    judgment of acquittal is both necessary and proper. Additionally, the defendant Mongol
24
      Nation is legally incapable of committing malum in se crimes – a great deal of which are
25
26    alleged in the Indictment and incorporated into the verdict form. The jury has relied on
27
      malum in se acts for a finding of guilt, thus a judgment of acquittal is both necessary and
28
29    proper. Lastly, all else aside, the racketeering acts alleged have not been proven by the
30
31                                                       3
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      government beyond a reasonable doubt. Each one of these arguments is independently

 2    sufficient to secure a judgment of acquittal. They are discussed separately in detail below.
 3
      II.   ARGUMENT
 4
 5          According to the Federal Rules of Criminal Procedure, the court on the defendant’s
 6
      motion must enter a judgment of acquittal of any offense for which evidence is
 7
 8
      insufficient to sustain a conviction. Fed. R. Crim. P. 29(a). Defendant may move for a

 9    judgment of acquittal, or renew such a motion, within 14 days after a guilty verdict or
10
      after the court discharges the jury, whichever is later. Fed. R. Crim. P. 29(c)(1).
11
12    Furthermore, if the jury has returned a guilty verdict, the court may set aside the verdict
13
      and enter an acquittal. Fed. R. Crim. P. 29(c)(2). If the jury has failed to return a verdict,
14
15
      the court may enter a judgment of acquittal. Id. Thus, regardless if the jury finds guilt or is

16    declared a hung jury, the court retains the authority to enter a judgment of acquittal. The
17
      defendant made its Rule 29 motion at the end of the government’s case, at the end of all
18
19    evidence, and immediately after the verdict was announced. The Court noted it, and this is
20
      a memo is support thereof.
21
22
      A.    The Government Failed to Prove the Existence of Two Distinct Entities

23          Both parties have already stipulated on the record that distinctness is a question of
24
      law for the bench to decide. This was conceded by the government on several occasions
25
26    both in writing and orally on the record. Whether this is being decided de novo as a
27
      question of law for the Court, or as a review of the sufficiency of evidence under Rule 29,
28
29    the same rationale for this argument applies. Due to the government’s failure to prove the
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31                                                       4
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      distinctness requirement for a finding of guilt under RICO, defendant Mongol Nation

 2    requests this Court exercise its rightful authority and enter a judgment of acquittal. This
 3
      case was already originally dismissed for lack of distinctness in 2015. The Ninth Circuit
 4
 5    reversed the dismissal because all well plead facts must be presumed true when evaluating
 6
      pleading. Ashcroft v. Iqbal, 556 U.S. 662 (2009). However, the government still bears the
 7
 8
      burden of proving distinctness as true at the trial stage. They have not meet this burden.

 9          Under the RICO statute, a “person” includes “any individual or entity capable of
10
      holding a legal or beneficial interest in property.” 18 U.S.C. § 1961(3). An “enterprise”
11
12    includes “any individual, partnership, corporation, association, or other legal entity, and
13
      any union or group of individuals associated in fact although not a legal entity.” 18 U.S.C.
14
15
      § 1961(4).

16          “To establish liability under § 1962(c) one must allege and prove the existence of
17
      two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same
18
19    ‘person’ referred to by a different name.” Cedric Kushner Promotions, Ltd. v. King, 533
20
      U.S. 158, 161 (2001). “Under the ‘non-identity’ or ‘distinctness’ requirement, a
21
22
      corporation may not be liable under section 1962(c) for participating in the affairs of an

23    enterprise that consists only of its own subdivisions, agents, or members.” Davis v. Mut.
24
      Life Ins. Co. of New York, 6 F.3d 367, 377 (6th Cir. 1993). However, “the need for two
25
26    distinct entities is satisfied; hence, [§ 1962(c) applies] when a corporate employee
27
      unlawfully conducts the affairs of the corporation of which he is the sole owner—whether
28
29    he conducts those affairs within the scope, or beyond the scope, of corporate authority.”
30
31                                                       5
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      Cedric Kushner, 533 U.S. at 166. Thus, an individual employee or officer may always be

 2    named as the RICO person distinct from the corporate enterprise. This holding does
 3
      nothing to minimize the distinctness requirement, in that the RICO statute requires
 4
 5    charging a person that is distinct from an enterprise under § 1962(c). See, e.g., Cruz v.
 6
      FXDirectDealer, LLC, 720 F.3d 115, 121 (2d Cir. 2013) (distinguishing Cedric, holding
 7
 8
      that an enterprise composed of a subsidiary (the person), employees, and the corporate

 9    parent that were alleged to operate as part of a single, unified corporate structure were not
10
      sufficiently distinct from the subsidiary person).
11
12          Most courts have recognized that the distinctness requirement “would be
13
      eviscerated if a plaintiff could successfully plead that the enterprise consists of a
14
15
      defendant corporation in association with employees, agents, or affiliated entities acting

16    on its behalf.” Brittingham v. Mobil Corp., 943 F.2d 297, 301 (3d Cir. 1991); see also
17
      Cruz, 720 F.3d at 121 n.3; In re ClassicStar Mare Lease Litig., 727 F.3d 473, 492 (6th
18
19    Cir. 2013) (collecting cases, and noting that “[m]ost courts have rejected the separate-
20
      legal-identity theory . . . , reasoning that if a corporate defendant can be liable for
21
22
      participating in an enterprise comprised only of its agents—even if those agents are

23    separately incorporated legal entities—then RICO liability will attach to any act of
24
      corporate wrong-doing and the statute’s distinctness requirement will be rendered
25
26    meaningless”); Fogie v. THORN Americas, Inc., 190 F.3d 889, 897 (8th Cir. 1999)
27
      (reviewing cases, and concluding that “to impose liability on a subsidiary for conducting
28
29    an enterprise comprised solely of the parent of the subsidiary and related businesses would
30
31                                                        6
32                                  Defendant’s Motion for a Judgment of Acquittal
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 1
      be to misread the statute”); Jaguar Cars, Inc. v. Royal Oaks Motor Car Co., 46 F.3d 258,

 2    268 (3d Cir. 1995) (“a corporation would be liable under § 1962(c), only if it engages in
 3
      racketeering activity as a ‘person’ in another distinct ‘enterprise,‘ since only ‘persons’ are
 4
 5    liable for violating § 1962(c)”).
 6
            The Ninth Circuit has explicitly recognized that: “if [a RICO] ‘enterprise’ consist[s]
 7
 8
      only of [a corporation] and its employees, the pleading [fails] for lack of distinctiveness.”

 9    Living Designs, Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361-62 (9th Cir.
10
      2005). In Living Designs, the Ninth Circuit found distinctness between a corporation and
11
12    an associated-in-fact enterprise composed of that corporation, the law firms it retained,
13
      and certain expert witnesses involved in prior litigation between that corporation and the
14
15
      plaintiffs. Id. The court noted the fundamental difference between the business of the

16    corporation and the law firms it employed, relying on compelled independence of the law
17
      firms, dictated by rules of professional conduct. Id. This holding thus hinged on the fact
18
19    that the law firms had an independent legal duty and existence separate from the
20
      corporation. See In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales
21
22
      Practices, & Products Liab. Litig., 826 F. Supp. 2d 1180, 1203 (C.D. Cal. 2011). They

23    were not merely nominally or semantically distinct, the entities and individuals were
24
      distinctive. Living Designs, 431 F.3d at 361; see also Securitron Magnalock Corp. v.
25
26    Schnabolk, 65 F.3d 256, 263 (2d Cir. 1995) (“a corporate entity [may be] held liable as a
27
      defendant under section 1962(c) where it associates with others to form an enterprise that
28
29    is sufficiently distinct from itself” (citing Riverwoods Chappaqua Corp. v. Marine
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31                                                       7
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      Midland Bank, N.A., 30 F.3d 339, 344 (2d Cir. 1994)). In Riverwoods Chappaqua, the

 2    court specifically stated that “the plain language of section 1962(c) clearly envisions
 3
      separate entities, and the distinctness requirement comports with legislative intent and
 4
 5    policy.” Riverwoods Chappaqua, 30 F.3d at 344 (2d Cir. 1994). Thus, if an entity is
 6
      named as a defendant in a RICO action, the enterprise it participates in cannot merely be a
 7
 8
      reframing of the same entity that is the target of the indictment.

 9          The statutory purposes of RICO support this reading. The Supreme Court has held
10
      that RICO both protects a legitimate “enterprise” from those who would use unlawful acts
11
12    to victimize it and also protects the public from those who would unlawfully use an
13
      “enterprise” (whether legitimate or illegitimate) as a “vehicle” through which “unlawful ...
14
15
      activity is committed.” Cedric Kushner, 533 U.S. at 164-65 (citing United States v.

16    Turkette, 452 U.S. 576, 591 (1981); Nat’l Org. for Women, Inc. v. Scheidler, 510 U.S.
17
      249, 259 (1994)). “A corporate employee who conducts the corporation’s affairs through
18
19    an unlawful RICO ‘pattern ... of activity,’ . . . uses that corporation as a ‘vehicle,’” id., an
20
      entity that associates with or manages itself does not. See United States v. Computer
21
22
      Sciences Corp., 689 F.2d 1181, 1190 (4th Cir. 1982) overruled on other grounds by Busby

23    v. Crown Supply, Inc., 896 F.2d 833 (4th Cir. 1990) (“To be sure, the analogy between
24
      individuals and fictive persons such as corporations is not exact. Still, we would not take
25
26    seriously . . . an assertion that a defendant could conspire with his right arm, which held,
27
      aimed and fired the fatal weapon. A corporation, in common parlance, is not regarded as
28
29    distinct from its unincorporated divisions either.”).
30
31                                                        8
32                                  Defendant’s Motion for a Judgment of Acquittal
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 1
            Clear legal rules are difficult to discern from the morass of legal precedent

 2    addressing the distinctness requirement in the context of entity defendants. Addressing
 3
      this conundrum, the Sixth Circuit recently found, “[o]ut of the meandering and
 4
 5    inconsistent case law from this and other circuits, as well as the Supreme Court’s decision
 6
      in Cedric Kushner,” two important principles emerge:
 7
 8
            (1) individual defendants are always distinct from corporate enterprises because

 9          they are legally distinct entities, even when those individuals own the corporations
10
            or act only on their behalf; and (2) corporate defendants are distinct from RICO
11
12          enterprises when they are functionally separate, as when they perform different
13
            roles within the enterprise or use their separate legal incorporation to facilitate
14
15
            racketeering activity

16    In re ClassicStar Mare Lease Litig., 727 F.3d 473, 492 (6th Cir. 2013).
17
            The alleged separate membership and purpose is a distinction without a difference.
18
19    The prospective members, probationary members, and hang-arounds/associates are
20
      defined by, and owe their existence to, the unincorporated association Mongol Nation.
21
22
      Taking the allegations as true, all non-members involved in the Mongols Gang enterprise

23    are acting within the Mongol Nation/Mongols Gang association structure, analogous in all
24
      meaningful respects to corporate employees acting within the scope of their employment.
25
26    Most courts, including the Ninth Circuit, have explicitly recognized that an enterprise that
27
      consists only of a corporate defendant and its employees fails for lack of distinctness. See,
28
29    e.g., Living Designs, 431 F.3d at 362. Although an unincorporated allegedly criminal
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31                                                        9
32                                  Defendant’s Motion for a Judgment of Acquittal
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 1
      organization cannot have “employees,” the roles of the prospective members, probationary

 2    member, and “hang-arounds” are the functional equivalent. See Yellow Bus Lines, Inc. v.
 3
      Drivers, Chauffeurs & Helpers Local Union 639, 883 F.2d 132, 141 (D.C. Cir. 1989) on
 4
 5    reh’g in part, 913 F.2d 948 (D.C. Cir. 1990) (citing cases) (“Several courts, however,
 6
      have disallowed a § 1962(c) claim where the relationship among the members of the
 7
 8
      enterprise association is the relationship of parts to a whole. That is, while the corporate or

 9    organizational defendant may itself be a member of the enterprise association, the member
10
      of the enterprise association may not simply be subdivisions, agents, or members of the
11
12    defendant organization.”). There is simply no substance to the Mongols Gang enterprise
13
      independent of Mongol Nation, an association of its leadership and official membership.
14
15
      See Davis, 638 F.3d at 377.

16          Yellow Bus succinctly presents the logic as to why word games should not be
17
      allowed to vitiate the distinctness principle.
18
19          [A]n organization cannot join with its own members to do that which it normally
20
            does and thereby form an enterprise separate and apart from itself. Where, as here,
21
22
            the organization is named as defendant, and the organization associates with its

23          member to form the enterprise ‘association-in-fact,’ the requisite distinctness does
24
            not obtain….[A]llowing plaintiffs to generate . . . ‘contrived partnerships’
25
26          consisting of an umbrella organization and its subsidiary parts, would render the
27
            non-identity requirement of section 1962(c) meaningless.
28
29
30
31                                                       10
32                                  Defendant’s Motion for a Judgment of Acquittal
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34
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 1
      Yellow Bus Lines, 883 F.2d at 141. The D.C. Circuit “declined to permit such an ‘end run’

 2    around the statutory requirements.” Id.
 3
            Mongol Nation, when combined with its “unofficial members”, is the alleged
 4
 5    Mongols Gang. The two are one in the same. Scraping away certain of the alleged Mongol
 6
      Gang’s affiliates, essentially agents of the alleged Mongols Gang/Mongol Nation, does
 7
 8
      not render Mongol Nation (“official” members) meaningfully different from the alleged

 9    Mongols Gang (members and associates). Defendant is the enterprise and the enterprise is
10
      (essentially) the defendant.
11
12          The government also argues that defendant is distinct from the enterprise it controls
13
      because that defendant held a unique legal position within the enterprise. Specifically,
14
15
      defendant controlled the use and display of the Word Image and Rider Image marks.

16    Thus, the government reasons, defendant (unincorporated association of full patched
17
      members) enjoys a legal separation from the enterprise, which includes associates of
18
19    defendant that cannot control the intellectual property underlying the Indictment.
20
            The government carved away from the alleged Mongols Gang what it considers to
21
22
      be a discrete faction – the faction capable of holding the alleged Mongols Gang’s

23    property. This technical separation does not establish that Mongol Nation itself was
24
      performing a different role within the enterprise to facilitate racketeering activity. Rather,
25
26    individual Mongols leaders (as alleged in the Indictment) asserted their authority to
27
      control the use of the Marks, while defendant Mongol Nation simply, technically, holds a
28
29
30
31                                                        11
32                                   Defendant’s Motion for a Judgment of Acquittal
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 1
      proprietary interest in the Marks. Therefore, this quality does not render Mongol Nation

 2    sufficiently distinct from the alleged Mongols Gang.
 3
            The government has relied on the Fourth Circuit case of Najjar and the Eleventh
 4
 5    Circuit case of Mowhak Industries to argue that the asserted distinction between defendant
 6
      and the enterprise is sufficient. Neither case is particularly persuasive under the facts
 7
 8
      before this court. In Najjar, the government alleged an association in fact enterprise

 9    comprising several individuals and two corporations. United States v. Najjar, 300 F.3d
10
      466, 484 (4th Cir. 2002). “Thus, the corporation was only one piece of the enterprise, not
11
12    the enterprise itself.” Moses v. Martin, 360 F. Supp. 2d 533, 550 (S.D.N.Y. 2004). In
13
      Mohawk, the complaint alleged that “Mohawk and third-party temp agencies/recruiters
14
15
      have conspired to violate federal immigration laws, destroy documentation, and harbor

16    illegal workers.” Williams v. Mohawk Indus., Inc., 465 F.3d 1277, 1284 (11th Cir. 2006).
17
      In both cases the enterprise consisted of multiple distinct legal entities, which existed and
18
19    had a purpose independent of the defendant itself.
20
            The government has also relied heavily on Cedric and similar cases, which hold
21
22
      that an individual person is always distinct from a corporate enterprise, without adequately

23    acknowledging the legal import of charging an individual “person” versus an entity
24
      “person.” See, e.g., Fogie, 190 F.3d at 897-98 (citing cases); Sever v. Alaska Pulp Corp.,
25
26    978 F.2d 1529, 1534 (9th Cir. 1992) (“[T]the inability of a corporation to operate except
27
      through its officers is not an impediment to section 1962(c) suits. That fact poses a
28
29    problem only when the corporation is the named defendant—when it is both the “person”
30
31                                                      12
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      and the “enterprise.” In that case, however, Sever (which predates both Cedric and

 2    Riverwoods Chappaqua (which was explicitly adopted in by the Supreme Court as the law
 3
      of the land in Cedric)) named the several individual officers as defendants/persons, and
 4
 5    APC as the enterprise. Therefore, he has satisfied this allegation requirement.”). Under
 6
      RICO, individuals are necessarily treated differently when courts address whether they are
 7
 8
      distinct from the enterprise they compose. Individuals are always legally distinct from the

 9    enterprise. As briefly noted above, Sever predates both Cedric and Riverwoods
10
      Chappaqua. To the extent that Riverwoods Chappaqua run contrary to the rationales of
11
12    Sever, Riverwoods Chappaqua is controlling as the law of the land. For the multitude of
13
      reasons noted above, the same logic simply does not extend to entity defendants.
14
15
      Defendant Mongol Nation is not distinct from the alleged Mongols Gang enterprise.

16          Throughout this trial, the government has continually failed to establish distinctness
17
      between a RICO “person” and a RICO “enterprise.” In fact, the government did not even
18
19    attempt to address this distinctness requirement until their closing argument – which is not
20
      evidence.
21
22
            Without a doubt, there is insufficient evidence in this case to prove the existence of

23    two distinct RICO entities. The only properly admitted evidence that pertained to
24
      distinctness indicated just the opposite – the defendant Mongol Nation is one single entity
25
26    composed of various chapters, levels of membership, designations, and rights and
27
      responsibilities. The various members have differing status and rules governing their
28
29    conduct. In other words, even non-full patch members of the club (prospect members,
30
31                                                     13
32                                Defendant’s Motion for a Judgment of Acquittal
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 1
      probationary members, and hang-arounds/associates) are under the umbrella of the club’s

 2    rules, control, and association. This can be seen by the government’s very own evidence
 3
      that was entered into the record – exhibit 17 (the Mongols 2005 Constitution), exhibit 141
 4
 5    (the Mongols 2008 Constitution), exhibit 142 (the Mongols 2013 Constitution), and the
 6
      testimony of all the undercover agents. These documents, that say the defendant’s name
 7
 8
      “Mongol Nation” on the cover page, describe in detail the rules and customs that govern

 9    conduct for all levels of the organization. These three Constitutions are consistent over the
10
      years and leave no doubt that the defendant is a single unified entity. In addition, there are
11
12    unwritten customs and practices that complement the Constitution. For example, non-full
13
      patch members of the club have designated positions while riding in the motorcycle pack
14
15
      on national “runs” and are also obligated to use certain vocabulary when interacting with

16    others.
17
            The testimony of defendant’s witnesses reiterated these facts that show the
18
19    Defendant is one entity. Doctor Richard Cole, a member of the Mongols Motorcycle Club
20
      for thirteen years who goes by the nickname Ritchie Rich, verified the rules and customs
21
22
      stated in the Mongols Constitution. He also verified that there is no difference between

23    Mongols “hang-arounds” and Mongols “associates.” These two terms are interchangeable
24
      and their synonymous nature is customary within the organization.
25
26          Governor Jesse Venture, one of the original members of the Mongols Motorcycle
27
      Club and former Sargent at Arms for the South Bay Chapter who goes by the nickname
28
29
30
31                                                      14
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      Superman, verified the rules and customs in the Mongols Constitution. Governor Ventura

 2    also discussed that there are rules for inactive members.
 3
            Richard Gutierrez, the Mongols Mother Chapter Secretary of Treasury who goes by
 4
 5    the nickname Rags, verified the fact that all levels of the organization, including officers,
 6
      full-patch members, probate members, probationary members, and hang-
 7
 8
      arounds/associates are governed by club rules, guidelines, and customs.

 9          Bengy Leyva, a member of the Mongols Motorcycle Club since 2000 who goes by
10
      the nickname Secret, reiterated these facts as well.
11
12          Furthermore, EVERY undercover agent from operation Black Rain the government
13
      called to testify in this trial reiterated these facts. There is no better evidence that the club
14
15
      is one-single entity composed of various members with differing status and rules

16    governing their conduct than the testimony of undercover agents who infiltrated the club
17
      for multiple years. A revisit of the testimony from Darren Kozlowski, Greg Gaioni, and
18
19    Paul D’Angelo will verify the lack of distinctness proffered by the government.
20
      Inadvertently stated or not, from the mouths of the undercover agents themselves, there is
21
22
      no RICO “person” distinct from the RICO “enterprise” in this case.

23          Indeed, in closing argument, the government acknowledged the fact that testimony
24
      from their very own witnesses repudiated any assertion of distinctness between the
25
26    defendant Mongols Nation and another entity. Realizing this error in their case, the
27
      government desperately attempted to challenge the testimony of their very own witnesses
28
29    – alleging that Greg Gaioni and other undercover agents were “confused” when they
30
31                                                       15
32                                  Defendant’s Motion for a Judgment of Acquittal
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 1
      spoke about the organizational makeup of the club. These undercover agents spent

 2    roughly three years infiltrating the club; they were not confused. The government cannot
 3
      erase testimonial evidence through their closing argument; nor can they re-write it. A
 4
 5    valiant effort by the prosecution to distance themselves from their very own witnesses was
 6
      not successful. The record clearly shows that the only testimony regarding the structure of
 7
 8
      the defendant Mongol Nation is that of a single unified entity. Furthermore, during his

 9    testimony on January 8, 2019, special agent Kozlowski specifically referred to on multiple
10
      occasions his “prospecting status” within the organization as being a “prospect member”.
11
12    He also stated he could wear the Center Patch before while he was a “prospect member”.
13
      This once again shows that all differing ranks within the organization are still members
14
15
      and under the same Mongol Nation umbrella. This fact precludes any distinctness as

16    required by the RICO statute. Evidence presented by the defense as well as the
17
      government clearly show that RICO distinctness has not been proven beyond a reasonable
18
19    doubt. Mongols Full-patch members, Mongols probationary members, Mongols prospect
20
      members, and Mongols hang-arounds/associates are all Mongols of a sort unified by their
21
22
      common allegiance to the Mongols entity. They have no meaningful existence relevant to

23    this case except as holding a status within the Mongols organization.
24
            It is important to recall that an individual cannot conspire with their right arm to
25
26    commit a crime. Alleging a conspiracy to commit acts which could not constitute a
27
      violation of the RICO statute does not provide a basis for a claim of conspiracy to violate
28
29
30
31                                                     16
32                                Defendant’s Motion for a Judgment of Acquittal
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 1
      the RICO statutes. For this reason alone, a judgment of acquittal for both substantive

 2    RICO and RICO conspiracy is necessary and proper.
 3
      B.    The Defendant is Legally Incapable of Committing the Malum in Se Crimes of
 4          Murder and Attempted Murder
 5
             An entity is legally incapable of committing the malum in se “racketeering acts” set
 6
 7    forth in the indictment and incorporated into the verdict form. In the present case, the
 8
      defendant is not an individual, but rather an entity formed through association. As such,
 9
10    defendant Mongol Nation requests this Court exercise its rightful authority and enter a
11    judgment of acquittal due to the jury finding guilt based solely on malum in se
12
      racketeering acts.
13
14          In Jund v. Town of Hempstead, 941 F.2d 1271 (2nd Cir. 1991), the Court faced,
15
      seemingly as a matter of first impression, a challenge from an unincorporated association
16
17    defendant that it was legally incapable of committing the predicate acts which formed the
18    basis of the 18 U.SC. 1962(c) violation claim against it. See Id. at 1284. That Court held:
19
      “Generally in the absence of a clear legislative intent to impose criminal responsibility, an
20
21    unincorporated association of persons as an entity cannot be indicted and convicted of a
22
      crime, since, if a crime is committed, it must be committed by them as individuals. Id.
23
24    (emphasis added) (citing 7 C.J.S. Associations § 38, at 88-89 (1980); United States v.
25    A&P Trucking Co., 358 U.S. 121, 127-28 (1958) (Douglas, J., dissenting); United States
26
      v. Local 807, 118 F.2d 684, 688 (2nd Cir. 1941) (Clark, J., concurring); State of South
27
28    Dakota v. Kandaras for Senate Comm., 264 N.W.2d 902, 903-04 (S.D. 1978)). The
29
30
31                                                      17
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      indictment alleges that Mongol Nation, unincorporated association, committed ten

 2    “racketeering acts” which constitute the predicate acts required for a § 1962 (c) violation.
 3
            The racketeering acts allegedly committed by Mongol Nation, an unincorporated
 4
 5    association, are as follows: (1) Conspiracy to distribute narcotics in violation of 21 U.S.C.
 6
      §§ 841(a)(1), (b)(1)(B), and (b)(1)(A); (2) Distribution of narcotics in violation of 21
 7
 8
      U.S.C. §§ 841(a)(1), (b)(1)(B), and (b)(1)(A); (3) Attempted Murder in violation of

 9    California Penal Code §§ 187 and 664 and (4) Murder in violation of California Penal
10
      Code § 187.
11
12          Nowhere in each of the aforementioned statutes is there language that specifically
13
      holds an entity criminally liable for crimes that require specific mens rea that results in an
14
15
      act that is malum in se as opposed to malum prohibitum. See 21 U.S.C. § 841; California

16    Penal Code §§ 664, 187. Generally speaking, if a “person” cannot burn in hell or be
17
      incarcerated for the consequence of act, they cannot be convicted of it. In fact, it is strange
18
19    to even ponder a situation where an entity can be found guilty of murder or attempted
20
      murder. It is axiomatic that such is not the case. See United States v. Kelso Co., 86 Fed.
21
22
      304 (N.D. Cal. 1898) (“Of course, there are certain crimes of which a corporation cannot

23    be guilty; as, for instance, bigamy, rape, murder, and other offenses, which will readily
24
      suggest themselves to the mind.”); Commonwealth v. Punxsutawney St. Passenger Ry., 24
25
26    Pa.C. 25 (1900). Despite the age of these cases, there is no subsequent authority that
27
      directly contradicts their conclusions. The lack of authority on the subject lends credence
28
29
30
31                                                      18
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      to the fact that these past cases were so established and axiomatic that there was not need

 2    to question and test the holdings further. They remain good law.
 3
            Therefore, since Mongol Nation is legally incapable of committing any of the
 4
 5    specific intent “racketeering acts” set forth in the indictment and incorporated into the
 6
      verdict form, these charges should not and cannot be the basis of a conviction, (see In re
 7
 8
      Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, & Products Liab.

 9    Litig., 826 F. Supp. 2d 1180, 1203 (C.D. Cal. 2011) (when the indictment fails to state a
10
      claim under § 1962(c), any claims under § 1962(d) likewise fails)), and the Court must
11
12    therefore enter a judgment of acquittal as such acts are the jury’s basis for finding guilt.
13
            The government will mostly cite United States v. A&P Trucking Co., 358 U.S. 121,
14
15
      125 (1958). However, this case actually supports the defendant’s position that, while an

16    entity defendant can clearly be held criminally liable for regulatory violations (i.e., malum
17
      prohibitum), it is incapable as a matter of law of committing non-regulatory or “inherently
18
19    evil”, i.e. malum in se, crimes. See, e.g., Padilla v. Gonzalez, 397 F.3d 1016, 1020 (7th
20
      Cir. 2005) (“We have acknowledged that the distinction between crimes that involve
21
22
      moral turpitude and those that don’t corresponds to the distinction between crimes that are

23    malum in se and those that are malum prohibita . . . specific intent is inconsistent with a
24
      crime that is malum prohibitum”).
25
26          The fact of the matter is the government has failed to cite any case which stands for
27
      the proposition that an “organization” can be held guilty of the malum in se crimes of
28
29    murder or attempted murder. This Court should, at a minimum, disregard all the alleged
30
31                                                      19
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      acts committed by this defendant which are malum in se or other specific intent crimes. As

 2    the government has itself admitted, all of those individual members alleged to have
 3
      committed those acts have been convicted and sent to prison to pay for their wrongs –
 4
 5    including some of whom were innocent but chose the safe route of a plea deal. As a result,
 6
      this Court should exclude all of the allegations of criminal activity by the defendant
 7
 8
      Mongol Nation, since the alleged “guilty persons” have already been convicted,

 9    sentenced, and punished as individuals. The defendant Mongol Nation is not responsible
10
      nor capable of committing these acts. Every alleged individual wrongdoing has already
11
12    been addressed. For this reason, a judgment of acquittal for this defendant is both
13
      necessary and proper.
14
15
      C.    The Racketeering Acts and Conspiracy Alleged Have Not Been Proven Beyond
            a Reasonable Doubt
16
17          In addition to the previous arguments, a judgment of acquittal is necessary and
18    proper because none of the racketeering acts and conspiracy alleged have been proven by
19
      the government beyond a reasonable doubt.
20
21          With respect to all of the drug transactions, it is important to note that nowhere in
22
      the evidence presented in this trial was there anything that one would expect to find from
23
24    an organization whose purpose was to manufacture or distribute controlled substances.
25    The government has indicated on the record that it has five shipping containers of
26
      evidence of allegedly seized during operation Black Rain, which led to both the Cavazos
27
28    and this current prosecution. Nowhere in discovery or in the evidentiary record were any
29
30
31                                                     20
32                                Defendant’s Motion for a Judgment of Acquittal
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 1
      of the things one would expect to find from a cartel dealing drugs, such as a “Pay-Owe”

 2    sheets or ledgers, cryptic communications from the organization related to drug
 3
      transactions, or legitimate “Stash-Houses” that can be attributed to this defendant the
 4
 5    Mongols Nation Motorcycle Club. In fact, the only evidence indicates that drug dealing
 6
      was prohibited by the Mongol’s rules.
 7
 8
            It should also be borne in mind that all of the drugs introduced into the record at

 9    trial have twice been very aptly illustrated to fit into a standard grocery bag (even with
10
      their original evidentiary packaging and labels included) – leaving enough additional
11
12    room to fit a gallon of milk, a loaf of bread, and a dozen eggs. All of the drug transactions
13
      prosecuted were “controlled-buy” situations orchestrated entirely by the government
14
15
      through undercover agents. One of the government’s undercovers, John “Hollywood”

16    Carr, is eloquently written about by Judge Manuel L. Real in the U.S. v. Roberts decision
17
      which criticizes the ATF and their scandalous practices intended to get their statistics up
18
19    by framing minorities and people of low income through the use of confidential
20
      informants and other under handed tactics. United States v. Roberts, et al., CR 13-00751-
21
22
      R-1 (2014). This perhaps best illustrates the actual “Deep State” looking for a way to

23    justify their budgets, their bonuses, and their existence. This conduct was also done in the
24
      hopes of landing a book deal and movie deal after retirement – just like Billy Queen, Jay
25
26    Dobyns, and the new budding writer Darren Kozlowski, etc. Ironically, one of the AFT
27
      agents, Jay Dobyns, in a successful lawsuit against the ATF itself called the agency which
28
29    spearheaded this operation a corrupt organization.
30
31                                                      21
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
            Also, the Court should bear in mind that there was a slew of violent acts that the

 2    government put on evidence regarding. Of that cornucopia, the government chose to
 3
      proceed to the jury for verdict on only six violent acts. Of these, the jury failed to return a
 4
 5    verdict of guilty on four of those acts – leaving only two to address.
 6
            With regards to all of the violent acts alleged, there was zero evidence presented of
 7
 8
      consultation with, direction from, collaboration by, conspiracy with, or orchestration or

 9    encouragement by the sole defendant in this case Mongols Nation Motorcycle Club. The
10
      alleged racketeering acts are further addressed individually below.
11
12          First, Racketeering Act One, the conspiracy to distribute cocaine and
13
      methamphetamine being on a date unknown and continuing through at least on or about
14
15
      May 15, 2018 was improperly designated as a racketeering act. This allegation should be

16    labeled as a separate Count. In addition, there was zero evidence, much less beyond a
17
      reasonable doubt, that this defendant engaged in a conspiracy to distributed cocaine or
18
19    methamphetamine.
20
            Second, Racketeering Act Three was the alleged distribution of methamphetamine
21
22
      on or about November 26, 2006 in Los Angeles County at a Jack-in-the-Box Parking Lot.

23    There is zero evidence of consultation with, direction from, collaboration by, conspiracy
24
      with, or orchestration or encouragement by the defendant Mongols Nation Motorcycle
25
26    Club through its Mother Chapter or ANY Chapter leadership within the organization, or
27
      members thereof. In fact, the alleged individual lawbreaker, David Gill, was kicked out of
28
29
30
31                                                      22
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      the club. This reinforces the notion that the defendant Mongol Nation in no way

 2    orchestrated, encouraged, or conspired to carry out this act.
 3
            Racketeering Act Four was the alleged murder of Leon Huddleston at Young’s
 4
 5    Tavern on or about February 14, 2007 in Los Angeles County. There is zero evidence of
 6
      consultation with, direction from, collaboration by, conspiracy with, or orchestration or
 7
 8
      encouragement by the defendant Mongols Nation Motorcycle Club through its Mother

 9    Chapter or ANY Chapter leadership within the organization, or members therof. In fact,
10
      the alleged individual lawbreakers, Klint Melcer and Jose Montes, were never and are not
11
12    now members of the Mongols Nation Motorcycle Club. This reinforces the notion that the
13
      defendant Mongol Nation in no way orchestrated, encouraged, or conspired to commit this
14
15
      act. Furthermore, there is no evidence in the record that explains how this altercation

16    occurred and who/what provoked it. Without such evidence, murder has not been proven
17
      beyond a reasonable doubt on an individual basis, much less on behalf of the club. All of
18
19    the relevant evidence indicates that this was a spontaneous act of violence without any
20
      connection to the Mongols Nations Motorcycle Club at all; or the Collective Membership
21
22
      Marks, coffee cups, mouse pads, etc. etc. that the government is trying to forfeit. There is

23    no evidence that the victim was a member of any rival club and nowhere has it been
24
      established in the record that the alleged perpetrators were wearing Mongols gear. By any
25
26    stretch of the imagination the government has failed to show beyond a reasonable doubt
27
      that the defendant carried out this act, or conspired to do so.
28
29
30
31                                                      23
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
            Racketeering Act Five was the alleged attempted murder at Nicola’s Bar in Los

 2    Angeles County on April 8, 2007. This was the act of violence that the jury deadlocked on
 3
      10-2 in favor of acquittal. There is zero evidence of consultation with, direction from,
 4
 5    collaboration by, conspiracy with, or orchestration or encouragement by the defendant
 6
      Mongols Nation Motorcycle Club through its Mother Chapter or ANY Chapter leadership
 7
 8
      within the organization, or members thereof. Furthermore, the only witness brought forth

 9    by the prosecution on this incident, Waldo Salazar, is bound by an immunity agreement
10
      and therefore going to say whatever the government desires for fear of being found in
11
12    violation of his agreement and losing his government job at Immigration and Customs
13
      Enforcement. The defendant witness on this incident was Al “the Suit” Cavazos; a man
14
15
      who now although is a convicted felon was convincing to at least 10 of jurors.

16          The only evidence in the record is that there was a dispute between about 10 knife
17
      wielding men from a street clique, which included Zeus Sanchez and Marcelo Garay, and
18
19    about two Mongols in a parking lot outside Nicola’s. That is bolstered by the testimony of
20
      Al Cavazos. Also in the record is that ATF agents John Ciccone and Christopher
21
22
      Cervantes were present at the altercation at roughly 2 AM, fully armed, and did nothing to

23    stop the altercation although they easily could have. As a result of the altercation, two of
24
      Mr. Ciccone’s undercover agents (Kozlowski and Gaioni) avoided a confrontation with
25
26    Denis Maldonado who suspected them as undercover cops and was scheduled to address
27
      them that evening. This was a suspiciously convenient outcome. John Ciccone was runing
28
29    undercover agents in both the Mongols and the street clique to which the victims of this
30
31                                                      24
32                                 Defendant’s Motion for a Judgment of Acquittal
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 1
      altercation were members. Cleary there is not enough evidence to show that the defendant

 2    Mongol Nation was guilty of this racketeering beyond a reasonable doubt – this is most
 3
      likely why the jury held 10-2 for acquittal.
 4
 5          Racketeering Act Six was the alleged attempted murder of Robert Huffman and
 6
      John Hauser on or about April 6, 2008 at a Mobil Gas Station in Pasadena. There is zero
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 8
      evidence of consultation with, direction from, collaboration by, conspiracy with, or

 9    orchestration or encouragement by the defendant Mongols Nation Motorcycle Club
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      through its Mother Chapter or ANY Chapter leadership within the organization, or
11
12    members thereof. In fact, nowhere in the evidentiary record is the identity of the
13
      perpetrators established, much less any association with the defendant Mongols Nation.
14
15
      This reinforces the notion that the defendant Mongol Nation in no way orchestrated,

16    encouraged, or conspired to commit this act. The only evidence in the record is the fact
17
      that the victims were Hells Angels prospects, one of whom identified themselves to the
18
19    police. Furthermore, there is no evidence in the record that explains how this altercation
20
      occurred and who/what provoked it. Exhibit 90, the Mobil Gas Station video of the
21
22
      incident that was admitted into the record, does not come close to showing the entire

23    altercation. The only thing visible from the video is that there were four people in the
24
      parking lot outside, two entered inside, and one of them was cut. At worse this was a
25
26    spontaneous act. Clearly the government did not meet its burden of proof beyond a
27
      reasonable doubt.
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31                                                      25
32                                 Defendant’s Motion for a Judgment of Acquittal
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            Racketeering Act Eight was the alleged distribution of methamphetamine on or

 2    about June 19, 2008 in Los Angeles County. There is zero evidence of consultation with,
 3
      direction from, collaboration by, conspiracy with, or orchestration or encouragement by
 4
 5    the defendant Mongols Nation Motorcycle Club through its Mother Chapter or ANY
 6
      Chapter leadership within the organization, or members thereof. This alleged drug deal
 7
 8
      was not done under the request of any club officers, but rather under the request of law

 9    enforcement in an undercover street theater capacity – specifically special agent John
10
      “Hollywood” Carr. In fact, undercover agent John “Hollywood” Carr admitted in his
11
12    testimony that he NEVER interacted with Mother Chapter. The government has failed to
13
      meet its burden to show beyond a reasonable doubt that the defendant was involved in any
14
15
      way with this act, much less carried it out or conspired to do so. This was as worst the

16    individual acts of the Lozano brothers.
17
            As the Court has properly noted, Racketeering Act One is merely a subset of Count
18
19    Two – the RICO Conspiracy – and not a separate racketeering act. None of the evidence
20
      presented at trial established that the defendant Mongols Nation Motorcycle Club was in
21
22
      any way engaged in a conspiracy to distribute cocaine, methamphetamine, or other

23    controlled substances. At worst, these were rogue acts of individuals. We reincorporate
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      our arguments above herein regarding the fact that conspiring to engage in actions that
25
26    cannot, could not, and would not violate the RICO statutes cannot constitute conspiracy to
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      violate the RICO statutes.
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31                                                      26
32                                 Defendant’s Motion for a Judgment of Acquittal
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            Regardless of the jury’s finding of “proven” on these aforementioned allegations,

 2    an objective analysis of the evidence presented at trial, or lack thereof, leads to the
 3
      inescapable conclusion that the government did not prove these offenses beyond a
 4
 5    reasonable doubt. The high burden of proof for the prosecution in a criminal trial is not a
 6
      malleable meter that can bend and sway based on the jury’s speculation, or as in this case
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 8
      likely a compromise verdict. This standard of proof is a crucial check and balance against

 9    government power in our system of jurisprudence. See In re Winship, 397 U.S. 358 (1970)
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      (emphasizing that “The reasonable-doubt standard plays a vital role in the American
11
12    scheme of criminal procedure. It is a prime instrument for reducing the risk of convictions
13
      resting on factual error. The standard provides concrete substance for the presumption of
14
15
      innocence—that bedrock axiomatic and elementary principle whose enforcement lies at

16    the foundation of the administration of our criminal law.”) This Court has a legal and
17
      moral obligation to enter a judgment of acquittal in this case because of the government
18
19    has failed to prove any of the alleged racketeering acts beyond a reasonable doubt.
20
            This prosecution amounts to nothing more than an attempt to find guilt by
21
22
      association. It is a mean-spirited endeavor intended to punish the quote “associates” of

23    people who have been previously found, mostly likely by stipulation and consent decree,
24
      to have committed wrongful acts. Guilt by association has never been the law of the land
25
26    in this country and the RICO statutes did not change that. No perversion of the
27
      racketeering laws with a novel Alice in Wonderland theory can lead to that conclusion in a
28
29    just and Constitutional fashion. It had been the prayer of this defendant and its members
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31                                                      27
32                                 Defendant’s Motion for a Judgment of Acquittal
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      that that matter had been put to bed with the verdicts in the Nuremberg war trials, where it
 1
 2    was determined that a race of people cannot be deemed guilty because of the alleged
 3
      conduct of members of that race.
 4
 5           The one thing that has been proven is that this defendant, the Mongols Nation
 6    Motorcycle Club, has not committed any of the acts tried in this case even if rogue
 7
      individuals did. There is not a shred of evidence that this defendant, Mongols Nation
 8
 9    Motorcycle Club, orchestrated any of the behavior complained of in this proceeding. It is
10
      not enough and should not be enough to find guilt on an entire entity simply because
11
12    persons associated with that entity may have committed wrongdoing – if that is all that the
13    law requires then no organization is safe.
14
15
      III.   CONCLUSION

16           The government has failed the prove the required element of distinctness for a
17
      conviction under RICO and RICO conspiracy. Furthermore, the defendant Mongol Nation
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19    is legally incapable of committing the the malum in se crimes of murder and attempted
20
      murder alleged in the Indictment and incorporated into the verdict form. As such, the jury
21
22
      cannot rely on these acts as the basis for finding guilt. Lastly, and all else aside, none of

23    the racketeering acts or conspiracy alleged have been proven by the government beyond a
24
      reasonable doubt. For the foregoing reasons, a judgment of acquittal is requested and is
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26    both necessary and proper under the facts of this case. The defendant relies on these and
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      whatever other additional arguments may be presented at the hearing on this matter.
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32                                 Defendant’s Motion for a Judgment of Acquittal
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 2                                                    Respectfully submitted,
 3
 4    Dated: Jan 10, 2019                    By:      /s/ Joseph A. Yanny
 5                                                    JOSEPH A. YANNY
                                                      YANNY & SMITH
 6
                                                      Attorneys for Defendant, Mongol Nation
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32                              Defendant’s Motion for a Judgment of Acquittal
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